 

Case 9:11-CV-00120-DEP Documentl Filed 02/03/11 Page 1x of 27'

UN|TED STATES D|STR|CT COURT
NORTHERN D|STR|CT OF NEW YORK

 

FRANK J. POVOSK|, JR.,

P|aintiff, _

VER|F|ED COMPLA|NT
-against- '

q»'// - cv - 063/ia

THOMAS LAVALLEY, DALE ARTUS, JOHN REYELLE
TODD STRACK, THOMAS WOOD, LEEWARD MACEY,
JAMES COOPER, JAMES TYLER, MICHAEL
GlAMBRUNO, KElTH BUSHEY, DAV|D TRUDEAU,
R|CHARD RENDLE, SCOTT DEFAYETTE, KEVlN HART,
ROBERT HARDEN, RANDAL SM|TH, BRUCE
SHUTTS, W|LL|AM BlSSO, JODY BOULR|CE,
RAMOND FURN|A, W|LL|AM ALLAN, ROBERT
TRUDEAU, RANDY LAMORA, GEORGE TAMER,
JOHN MlLLER, CASEY STRONG ' , STANLEY GARMAN,
SCOTT ASHL|NE, JAMES FACTEAU, JASON PELKEY,
DONALD UHLER, J|LL PERRY, R|CHARD FLORENT|NE,
L. LAP|NE, KEN STRADER, R|CHARD YOUNG,
R|CHARD MAHUTA, JOHN CRUS|E, BR|AN EKLLY,
JERRY WOOD, TARA BROUSSEAU, S. LACY,
KEV|N H|CKS, DAN|EL CLANCY, ROBERT AYOTTE,
RONALD DUPREE, JAM|E STUART, SHAWN TERRY,
MARGARET L|VSEY, CURT|S DROWN, DARLENE
WALDRON, MELODY CAYEA, DAWN BADGER,
REBECCA BENTLEY, AMBER LOSHWAY, HEATH
BAKER, KANG LEE, VONDA JOHNSON, MARY G|LLEN,
L|SA CLEMONS,`DAVAID AMOD|O, R. CAR|NE,
C. WENDERL|CH, D. HENDERSON, HARRY HETR|CK,
J.LAMMORA, KELLY BONNER, DR. BERGGREN,
JANE SM|TH, J. WALDRON, sued in their individual
capacities and BR|AN F|SCHER, sued in his official
and individual capacity, '

Defendants.

 

COMPLA|NT W|TH JURY DEMAND

Plaintil‘f,v Frank JY. ‘Povos»ki J'r., prose for his complaint states-the following:

 

 

base §:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 2 of 27

JUR|SD|CT|ON

1. This is a civil action authorized by 42 U.S.C. §1983 to redress the
deprivations, under color of state law, of rights secured by the Constitution of the United
States. The court has jurisdiction under 28 U.S.C. § 1331 and 1343 (a)(3). P|aintiff
seeks declaratory relief pursuant to 28 U.S.C. § 2201 and 2202. P|aintiff’s claims for
injunctive relief are authorized by 28 U.S.C. §§ 2283, 2284 and Ru|e 65 of the Federal
rules of Civil Procedure. The court has supplemental jurisdiction over the state law tort

claims under 28 U.S.C. § 1367.

VENUE

 

2. The Northern District of New York is an appropriate venue under 28

U.S.C. § 1391(b)(2), because it is where the events giving rise to these claims occurred

PART|ES

3. P|aintiff, Frank J. Povoski Jr., is and was at all times mentioned herein a
prisoner of the State of New York in the custody of the New York State Department of
Correctiona| Services (“NYSDOCS”). He is currently confined in Clinton Correctiona|

Faci|ity (“CCF”) in Dannemora, New York.

4. Defendants Thomas LaValley, 'Da|e Artus, Stanley Garman are
administrators employed at CCF, Dannemora, New York. They are sued in their

individual capacities

 

Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 3` of 27 '

5. Defendants John Reye||e, Todd Stack, Leeward Macey, James Cooper,
James Ty|er, Keith Bushey, David Trudeau, Scott Defayette, Kevin Hart, Robert
Harden, Randa| Smith, Bruce Shutts, Jody Boulrice, Robert Trudeau, Casey Strong,
Scott Ashline, Jason Pe|key, Ji|| Perry, Richard F|orentine, Ken Strader, Richard Young,
Richard lVlahuta, John Crusie, Brian Ke||y, Jerry Wood, Robert Ayotte, Rona|d Dupree,
damie Stuart, Shawn Terry, are correctional officers employed at CCF, Dannemora,

New York. They are sued in their individual capacities

6. Defendants Thomas Wood, Michae| Giambruno, Richard Rend|e, Wil|iam
Bisso, Raymond Furnia, Wil|iam A||an, Randy LaMora, George Tamer, John Mi||er,
James Facteau, Dona|d Uh|er, L. LaPine, S. Lacy, Kevin Hicks, Danie| Clancy are

correctional supervisors employed at CCF, Dannemora, New York. They are sued in

their individual capacities.

7. Defendants Tara Brousseau, Margaret Livesey, Curtis Drown, Darlene
Wa|dron, Melody Cayea, are civilian employees employed at CCF, Dannemora, New

York. They are sued in their individual capacities

8. Defendants Dawn Badger, Rebecca Bentley, Amber Lashway, Heath
Baker, Kang Lee, Vonda Johnson, Mary Gil|en, Lisa Clemons, are civilian Hea|thcare

employees employed at CCF, Dannemora, New York. They are sued in their individual

capacities
9. Defendants Ke||y Bonner, Dr. Berggren, Jane Smith, N. Woldron are
Menta| Hea|thcare providers employed at CCF, Dannemora, Ner York. They are sued

in their individual capacities

 

base §:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 4 of 27

10. Defendants R. Carine, C. Wender|ich, D. Henderson, Harry Hetrick, J.
LaMora are employees at E|mira Correctiona| Faci|ity, E|mira, New York. They are

sued in their individual capacities

11. Defendants David Amodio is employed by NYSDOCS in A|bany, New

York. He is sued in his individual capacity.

12. Defendant Brian Fischer is commissioner of NYSDOCS employed in

A|bany, New York. He is sued in his official and individual capacity.

13. All the Defendants have acted, and continue to act, under the color of
state law at all times relevant to this complaint to deprive Plaintiff of his constitutional

rights as set forth more fully below.

PREV|OUS LAWSU|TS lN FEDERAL COURT

14. Plaintiff has filed no other lawsuits with the same facts involved in this

action.

 

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Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 5- of 27 1

EXHAUST|ON OF ADMIN|STRAT|VE REMED|ES

15. Plaintiff has exhausted to the best of his knowledge his administrative

remedies with respect to all claims herein, even in the face of his claims of obstruction

of the grievance process

FACTS

16. On February 12, 2008, Plaintiff was escorted from Unit-14 to the Office of

Mental Health (“OlVlH”), Hospital, CCF by Correction Officers (“CO”) John Reye||e,

U§nd Correction Sergeant (“Sgt”) Wood to meet with social worker Kelley Bonner.
Bonner informed Plaintiff that security staff namely Lt. Wil|iam Allan had opened

Plaintiffs outgoing mall, read it, and informed Bonner that Plaintiff “sounded suicidal” in

k the letter. Plaintiff denied he was suicidal and that his mental condition was fine.
Plaintiff during the course of the meeting warned Bonner that he had prior problems with

the three officers escorting him, and that during the course of the escort to the meeting

room had threatened him with physical harm when they “got him in the observation

room”. Bonner failed .to intervene and moreover, admitted Plaintiff to observation over

his objections because, as she put it, “security had her hands tied”, and not because

she believed Plaintiff was a danger to himself. ‘

17. Plaintiff was then escorted (handcuffed and waist chained) to OMH
observation room seven (7) and during the escort officers again threatened and verbally
abused him. When placed in the observation room, Reyelle started punching Plaintiff in

the head and face. Strack then `poked and punched Plaintiff in the eye. Reyelle then v

 

Case §:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 6 of 27

choked Plaintiff until he passed out. Plaintiff was then intentionally, maliciously and
sadistically assaulted and battered by all three officers as they punched and kicked him
with closed fists and feet in the face, head, groin, back and legs causing multiple

physical injuries

18. The resulting injuries included a lacerated ear, lacerated eye, contusions
to the face and'body, internal bleeding, eye injury, groin injury, knee injury, foot injury,

and a closed head injury with resulting short and long term symptoms

19. immediately after the assault and battery on February 13, 2008, Plaintiff
requested emergency medical care of at least two medical/mental health staff members
'doing medication rounds with their escort, those employees being Nurse Dawn Badger,
Rebecca Bentley, and [Co Leoward May] , John Smith, Nurse Waldron, Jane Smith and
those requests were summarily denied intentionally in their attempt to “cover-up” the
resulting injuries of the foregoing assault and battery. This staff was deliberately
indifferent to Plaintiff’s medical ~care when knowing of his serious physical injuries
intentionally ignored his requests and moreover failed to treat him so that no
documentation of the injuries of the assault and battery would be entered into his

medical records

20. On February 13, 2008, Plaintiff was escorted handcuffed and
waistchained from observation room 7 _to, an interview area, OHM, Hospita|, ,CCF. y
Plaintiff met with Dr. Berggren for the purpose of evaluation and Plaintiff’s continued
observation. Plaintiff was also being escorted by COs Reye||e, James Cooper and

» James ~T-yler to the interviews '

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Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 7. of 27 1

21. Upon entering the interview room, Plaintiff told Berggren that he had been
assaulted by his current escort Reyelle and two other officers showed her the injuries
that were visible, and asked for medical attention. .The escorting officers immediately
suspended the interview, and began escorting him back to the observation room where
they began intentionally, maliciously and sadistically t_o assault and batter Plaintiff when
they repeatedly struck Plaintiff with closed fists to his back and telling him that “we are

going to f_k you up now, since we told you not to say anything about yesterday”.

22. They continued the assault into the cell where they uncuffed Plaintiff then
the three officers rushed the cell and Reyelle continued the assault. Plaintiff fell
unconscious and upon waking was cuffed this time behind his back and was being
dragged to a nearby medical exam room. Plaintiff’s cuffed arms were forced high in
back and Reyelle placed him in a full nelson hold, causing injury to both shoulders ln
the exam room he was forced upon a bed where Rayelle continued to punch Plaintiff in
the head and face. The other officers in the room, Cooper and Ty|er, and_ a few new
arriving ones began twisting Plaintiff’s wrists kicking in the rear and legs stomping on
his bare feet, then lifting his right foot and striking him on that foot and heel with a
wooden baton. Other officers participating in the assault were Michael Giambruno, Keith
Bushey, David Trudeau, Richard Rendle. As a result of this savage and brutal attack,
Plaintiff sustained numerous injuries to both shoulders his right wrist, left ear, head, and

right foot, along with many contusions and bruising.

23. Photographs were taken of some injuries and although a nurse did briefly

_ speak with Plaintiff, no medical attention was provided `

 

rCase 8:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 8 of 27

24. Over the next two weeks Plaintiff put in daily sick call notices for medical
care and Nurse (PA) Amber Lashway did see that Plaintiff was x-rayed for broken

bones no medical treatment was provided

25. These incidents were grieved to the inmate Grievance Program as

grievance numbers CL-56609-08, CL-56717-08 and consolidated CL-56743-08.

26. Moreover, Dr. Breggren, Kelley Booner, Dale Artus, and Brian Fischer
failed to provide Plaintiff with reasonable protection against the “reasonable
' foreseeable” attacks by staff at CCF, when Plaintiff and Plaintiff’s family numerous times
through numerous channels and methods of communication had informed the above
Defendants of at least 8 other previous assaults by staff against Plaintiff person, the
threats made by staff of continued harm, and his belief that these attacks would
continue if not checked by administration of CCF and NYSDOCS (checked by

disciplinary measures against officers/staff or Plaintiff transferred from facility).

27. Berggren and Booner giving that Plaintiff warned them of the treats of
assault by staff and that an assault had taken place hours earlier, their failure to provide
Plaintiff with any protection and in fact put him into observation which is a know area of
high assaults by~staff is particularly disturbing, and showed their "reckless disregar ” for

Plaintiff’s safety in their failure to “act reasonably” in response to this known danger.

281 On or about January 31, 2008, Plaintiff discovered that C'O Scott
Defayette was obstructing his legal mail. Defayette for a period had obstructed most of

Plaintiffs legal filings and correspondence resulting in missed deadlines and ultimate

 

Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 9' of 27 l

dismissal of those cases Defayette did this in retaliation for an incident that occurred in

August 2007. see inmate Grievance CL-56634-08.

29. On` January 31, 2008, CO Randal Smith came to Plaintiff’s cell with two
other officers to search his cell. Smith escorted Plaintiff cuffed to the shower cell gate
where he intentionally, maliciously, and sadistically slammed Plaintiff into the gate

causing physical injury to Plaintiff’s right shoulder.

30. As a result of this unprovoked assault and batter, Plaintiff suffered injury to
his shoulder resulting in swelling, pain and disability. see inmate Grievance CL-56582-

08, CL-56635-08.

31. The above assault and batteries are just three incidences in a series of
assaults and batteries perpetrated against Plaintiff by a small group of officers
unofficially lead by Sgt. Richard Rendle known as the “beat down crew”. Rendle and
crew established a vendetta against Plaintiff in 2007 shortly after Plaintiff arrived at
facility after Plaintiff grieved one of the “crew” members CO Kevin Hart (and later filed
lawsuit). This retaliation by these officers consists primarily of assaults and writing
Plaintiff up on fictitious misbehavior reports On amendment of complaint Plaintiff will

include full detail but for now only the date of the assault and staff involved are listed:

 

M Staff
April 27, 2007 Kevin Hart
lVlay 18, 2007 Kevin Hart
August 20, 2007 Robert Harden, John Reye||e,
Randal Smith
August 24, 2007 Richard Rendle, Bruce Shutts
August 24, 2007 Richard Rendle, Bruce Shutts,
' " ` ' "" ' VWlliamBiss'o `
August 24, 2007 Richard Rendle

 

base 9;11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 10 of 27

October 21, 2007 Jody Boulrice, Raymond Furnia

32. Upon amendment of complaint, Plaintiff will include full factual allegation,
which fully supports the “continuing wrong” doctrine as to why the above seven assaults

should be within the limitation of this action.

33. Coincidental to the assault and batteries of 2-12-2008, 2-13-2008, 1-31-
2008, 10-21-2007, 8-24-2007(3), 8-20-2007l 5-18-2007, 5-18-2008 and 4-27-2008,
were outright denials of access to medical care by personnel, medical, mental health
and othenrvise to “cover up” these assaults by not reacting and thus not reporting
injuries and treatment thereof. These employees are Dawn Badger, Rebecca Bentley,

Heath Baker, Kang Lee, Vonda Johnson, Mary Gil|en, and Lisa Clemons.

34. On or about February 12, 2008, Wil|iam Allan and Margaret Livsey opened
and read Plaintiff’s outgoing mail without authorization from the superintendent or cause
that suspicious of illegal activities were occurring and in retaliation of Plaintiff filing
grievances and pursuing lawsuits Upon reading of this mail, Allan alerted mental
health social workers Kelley Bonner that Plaintiff was suicida|, contrary to the facts As
a result of this first amendment violation Plaintiff was brought to OMH observation and
subsequently assaulted by staff and written up falsely on a misbehavior report, in effect

direct causation of the violations of his eight amendment and fourteenth amendment

rights

35. On January 30, 2008, Richard Rendle and Scott Defayette brought forth a
“false” misbehavior report against Plaintiff alleging he “forged his inmate disbursement
form This charge was brought in retaliation of Plaintiff filing grievances pursuing

10

Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 11 of 27‘

lawsuits and other activities protected by the constitution, against Rendle, Defayette and _
other members of Rendle’s E-block based “beat down crew” for their tortuous acts and

constitutional violations against Plaintiff.

36. Plaintiff in a disciplinary hearing conducted on February 7, 2008 by
Hearing Officer Curti`s Drown was found guilty of charge and was given seven months
SHU time, two months suspension and six months loss of good time. The Hearing
Officer violated Plaintiff’s “due process” rights in the hearing when he violated numerous

procedural protections guaranteed under the fourteenth amendment

37. On February 13, 2008, COs James Tyler and John Reyelle wrote Plaintiff
up on a“‘false” misbehavior report alleging “violent conduct" and “direct order” when
they placed him in the OHM observation room seven. This report was written in an
attempt to mitigate or “cover-up” the assault and battery they inflicted upon Plaintiff.
Without this report by Tyler and Reyelle there would have been no possible explanation

as to the severity of Plaintiff’s injuries

38. A disciplinary hearing was conducted on February 27, 2008 through

March 3, 2008 by Scott Drollette finding Plaintiff guilty of the charges and was given 120
days SHU time and four months loss of good time. The Hearing Officer in the course

and conduct of the Hearing violated numerous “due process” protections guaranteed to

Plaintiff under the fourteenth amendment

39. Additionally, the misbehavior report by Tyler and Reyelle was directly
motivated as retaliation for Plaintiff filing grievances pursuing lawsuits and other
activities protected by the constitution against themselves Rendle and other members

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Case 9`:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 12 of 27

of Rendle’s “beat down crew”, for their prior tortuous acts and constitutional violations

against Plaintiff.

40. On February 14, 2008, CO Robert Trudeau wrote Plaintiff up on a “false”
misbehavior report alleging he had too many stamps in his cell. This report was written
in retaliation for Plaintiff grieving officers and filing lawsuits and other activities protected

by the constitution, against officers within the Unit-14 SHU.

41. A disciplinary hearing was conducted on February 27, 2008, again in
retaliation for Plaintiff filing grievances and pursing lawsuits by Randy LaMora finding
Plaintiff guilty of the charges and was given 60 days of SHU time. The Hearing Officer
in the course and conduct of the Hearing violated numerous “due process” protections

guaranteed to Plaintiff under the fourteenth amendment

42. As alleged foregoing in this Complaint regarding the assaults and
batteries these constitutional violations begin in 2007 when Plaintiff filed a grievance
against Kevin Hart and_ fully supports the “continuing wrong” doctrine and should be

within the limitation of this action.

43. The Plaintiff in retaliation for him filing grievances and pursuing lawsuits
was written up on “false” misbehavior reports which.violated his constitutional rights on

the following dates by the following officers:a

DATE OF lNC|DENT DATE OF HEAR|NG OFF|CER

4-24-07 5-04-07 Kevin Hart
(John Miller) George Tamer

6-29-07 7-04-07 ` Casey Strong

. __ .. , (John Miller) - - - ~ - ‘ ~ 1

7-29-07 8-10-07 Scott Ashline

12

 

Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 13 of 271

(Stanley Garman)
7-29-07 8-14-07 , George Tamer
(Curtis Drown)

`44. As it is alleged under the` continuing wrong doctrine New York State
Officials including those at E|mira Correctional Faci|ity began a systematic retaliation
against Plaintiff for his alleged crimes he was incarcerated for, namely arson of police
vehicles allegations of arson against New York State police vehicles and allegations of

escape from NYSDOCS and local jail.

45. On June 24, 2006, Plaintiff was placed in the SHU at ECF, ordered by Lt.
R. Carine after he alleged in a “false” misbehavior report that Plaintiff “conspired to

escape”, “possessed escape paraphernalia”, “assaulted staff”, “possessed contraband”,

and “made threats”.

46. On June 23, 2006, another “false” misbehavior report was authored by
David Amodio claiming that Plaintiff “solicited a civilian”, “violated correspondence”, and
“exchanged Personal identification Number”, again wrongfully confining him to the SHU,
both misbehavior reports being retaliatory in nature for Plaintiff’s crimes'and his attempt
to proceed to trial in the matter. Plaintiff was scheduled to go to trial in Monroe County
during the summer of 2006, and the loss of his legal papers the deprivation caused to
him as a result of being confined in the SHU, resultantly caused him to make a plea

against plans to proceed to trial.

47. A disciplinary hearing was commenced on July 24, 2006 by Captain
l Wenderlich for both misbehavior reports and during the course and conduct of the
hearing, Wender|ich violated a number of Plaintiff’s clearly established procedural “due

13

 

6ase 9;11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 14 of 27

process” rights Wender|ich found Plaintiff guilty on all charges and sentenced him to

three (3) years SHU confinement with loss of two (2) years good time.

48. if Plaintiff’s due process rights had been honored SHU placement would
not have resulted Plaintiff filed an appeal with the Director of S~pecial Housing, Donald
Selsky who recognized that Plaintiff’s rights were violated and on September 20, 2006

reversed the determinations of both misbehavior reports and their associated hearing.

49. immediately in retaliation as above mentioned and for Plaintiff’s successful
reverse, Wender|ich instructed Harry Hetrick to immediately (and without releasing
Plaintiff from SHU) commence an administrative segregation proceeding against
Plaintiff. DSS Henderson commenced the Hearing on October 4, 2006 and on

November 1, 2006 confined Plaintiff to the SHU indefinitely.

50. if Plaintiff’s due process rights had been honored SHU placement would
not have resulted Plaintiff filed an appeal with Selsky, and Selsky recognized the clue

process violations and also reversed this determination on January 22, 2007.

51. On January 24, 2007, Plaintiff was being transferred to 'CCF (he was
actually released by Selsky to General Population effective January 22, 2007, but was
still being held in the SHU pending transfer), when he was assaulted and battered by
CO J. LaMora and to “cover" this up, and in further retaliation of Plaintiff for grievances
he filed at Elmira, and the fact he had just received a reversal on all “false” misbehavior
reports and recommendations written against him, J. LaMora wrote yet another “false”

misbehavior report against Plaintiff for “Direct Order” and"‘F risk Procedures”.

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Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 16 of 271

52. Upon Plaintiff’s transfer to CCF, Plaintiff was placed directly into the SHU.
The misbehavior report was summarily dismissed by Curtis Drown on February 8, 2007.
Plaintiff on February 10, 2007, was returned to general population after spending 224
days in SHU under “atypical and significant hardship” as defined by and under Sandin,
that departs significantly from those of general population, such as no physical access
to a law library, poor food, filthy cell conditions 23+ hour lockins no programming,
limited recreation, limited access to media materials limited visitation, no telephone
access no commissary, no packages limited clothing and footwear, limited access to
showers and other hygiene, not to mention a very noisy environment filled with many
mentally ill inmates who don’t’ shower or don’t clean their cells causing insects and
mice to abound, basically an` environment‘that allows only the bare necessities to
survive and an environment that promotes abuses by staff not “tolerated” by inmates in

general population.

53. On March 21, 2008, Margaret Livesy and Wil|iam Allan wrote Plaintiff up
on a “false” misbehavior report alleging he violated a “direct order” and facility
correspondence”. This report was written in retaliation for Plaintiff filing grievances and

pursing lawsuits and other activities protected by the constitution.

54. A disciplinary hearing was conducted on April 3, 2008, again in retaliation
for Plaintiff filing grievances and pursing lawsuits by John Miller finding Plaintiff guilty of
the charges and was given 30 days keeplock. The Hearing Officer in the course and
conduct of the hearing violated numerous “due process” protections guaranteed to

Plaintiff under the fourteenth amendment , \,

15

 

Case 9;11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 16 of 27

55. The below mentioned misbehavior reports have been written in retaliation

as “false” and the disciplinary hearing violating due process

 

 

 

 

 

 

 

 

 

 

 

incident Date Hearig Date/Officer Writer
4-3-08 4-9-08/Randy LaMora Wil|iam Allan
Margaret Livsey
4-7-08 4-13-08/James Facteau Jason Deikey
David Trudeau
4-15-08 5-7~08/James Facteau Wil|iam Allan
’ Margaret Livsey
6-9-08 6-24-08/ Donald Uhler Jill Perry
11-2-08 None/None Richard
Florentine*
7-28-09 8-5-09/Lt. LaPine* Margaret Livsey
Wil|iam Allan
7-7-10 7-12-10/John Miller Ken Strader
Richard Young
11-24-10 12-6-10/SM Lacy Richard Mahuta
John Crusie
Brian Keily
1 1-27-10 None/None Jerry Wood
12-6-10 12-29-10/SM Lacy Wil|iam Allan
z Margaret Livsey

 

 

 

 

 

(These above mentioned Misbehavior Reports/Hearings will be expounded upon
in Amended Complaint)

56. During the period from approximately July 2007 until present and under
' the “continuing harm” doctrine Tara Brousseau, Dale Artus, Thomas Lavalley, Stanley
Garman, Wil|iam Bisso and other after-mentioned have violated Plaintiff’s first
amendement rights directly and by way of retaliation for Plaintiff filing grievances and "
pursing lawsuits his first and fourteenth amendment rights for intentionally obstructing
the inmate Grievance Program at CCF. These Defendants during this period,'
especially Brousseau who is the lGP Supervisor at CCF, upon filing of grievance by
Plaintiff, failed to process them per Directive #4040, obstructed many entirely, not
v allowing Plaintiff to address'his` constitutional violations by Defendants above mentioned

16

 

Case 9:11-CV-0012O-DEP Document 1 Filed 02/03/11 Page 17 of 27'

administratively to satisfy the requirements of the Prisoner’s Litigation Reform Act, in

order to redress his issues regarding these violations in federal court

57. During the period from approximately July 2007 'until present and under
the “continuing harm” doctrine, employees assigned to the mailroom at CCF, Sl-iU and
E-block, Wil|iam Bisso, Kevin Hicks, Daniei Clancy, Wil|iam A||an, Robert Ayotte,
Ronald DuPree, Jamie Stuart, Jody Boulrice, Darlene Waldron, Melody Cayea,
Margaret Livsey, Jill Perry, Richard Rendle, Scott Pefayette, Robert Harnden, Shawn
Terry, Randal Smith, and Bruce Shutts obstructed Plaintiff’s mall, legal mail, and
grievances in retaliation for him filing grievances and lawsuits in effect to prevent him
from filing grievances and pursing lawsuits did in fact cause him harm by causing him
to miss legal deadlines obstructed filings and services in totality, disrupted his
communications to his attorney and the courts so that those filings were not made, and

Defendants not served and barred him or caused outright dismissals in various criminal

and civil actions

COUNT ONE:
EXCESS|VE FORCE, CRUEL AND UNUSUAL

PuNisHMENT

58. Plaintiff re-aileges and incorporates by' reference paragraphs 16 through

57 as if fully stated herein.

59. Defendants above mentioned exercised and acted “maliciously and
sadistically” in their excessive forced used upon the Plaintiff on the dates of April 27,
2007, May 18, 2007, August 20, 2007, August 24, 2007 (3 incidents), October 1, 2007,

" "January 31, 2008, February'12, 2008, February 13, 2008. The Defendants because of

17

 

Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 18 of 27

the April 27, 2007 incident with Kevin Hart where Plaintiff filed grievances and pursed
litigation created an ongoing retaliatory vendetta against Plaintiff and in an ongoing
series of related excessive forces intentionally, cruelly and with great malice in each
case beat the Plaintiff, inflicting physical injury and infliction of emotional distress in a

continuing wrong that began on April 27, 2007.

COUNT TWO:
ASSAULTl BATTERYl lNFL|CT|ON OF EMOT|ONAL
D|STRESS BOTH lNTENTiONAL AND NEGL|GENT

60. Plaintiff re-alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

61. Defendants above mentioned exercised and acted “maliciously and
sadistically” in their assault and battery of the Plaintiff on the dates of April 27, 2007,
May 18, 2007, August`20, 2007, August 24, 2007 (3 incidents), October 1, 2007,
January 31, 2008, February 12, 2008, February 13, 2008. The Defendants because of
the April 27, 2007 incident with Kevin Hart where Plaintiff filed grievances _and pursed
litigation created an ongoing retaliatory vendetta against Plaintiff and in an ongoing
series of related assaults and batteries intentionally, cruelly and with great malice in
each assault inflicted physical injury and infliction of emotion distress both, intentionally

and negligently in a continuing wrong that began on April 27, 2007.

COUNT THREE:
DELlBERATE iND|FFERENCE TO MED|CAL CARE

62. Plaintiff re-alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

18

 

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Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 10 of 271

63. Defendants above mentioned exercised deliberate indifference to
Plaintiff’s serious medical conditions after he was assaulted by the Defendants. The
Plaintiff made numerous requests for emergency medical care and medical care after
each of the above mentioned.assa,ults and these requests were in effect disregarded

by Defendants and no care was provided; in a continuing harm that began on April 27,

2007.

couNTFouR:
DELlBERATE i@iFi=ERENcE To MEDicAi__ cAE iN
RETALiATioN FoR FiLiNG GRiEvANcEs AND PuRsiNG

LAWSU|TS

64. Plaintiff re-alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

65. Defendants in above mentioned exercised deliberated indifference to
Plaintiff’s serious medical conditions in retaliation for Plaintiff filing grievances and
pursuing lawsuits against above mentioned Defendants and other employees of
NYSDOCS, especially after he was assaulted by Defendants. The Plaintiff made
numerous requests for emergency medical care and medical care after each of the
above mentioned assaults and these requests were disregarded by Defendants and no
care was provided in an ongoing retaliatory vendetta causing continuing harm from the

earliest denial which occurred in April 27, 2007.

COUNT FIVE:
RETAL|AT|ON AGA|NST PLA|NT|FF BY MlSUSE OF THE

D|SC|PL|NARY REPORT|NG PROCESS
66. Plaintiff re-alleges and incorporates by reference paragraphs 16 through
57 as if fully stated herein.

19

 

Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 20 of 27

67. Defendants above mentioned in a series of continued wrong predicated
as retaliation for Plaintiff’s alleged crime, his anti-authority attitude, his attempts to
litigate those to trial, and for his filing grievances and pursing lawsuits intentionally
wrote “false “ misbehavior reports which resulted in his placement in confinement
cause significant disruptions in his ability to litigate his criminal matters caused
significant disruptions in his redress of the NYSDOCS in civil matters such as assault
batteries and property litigation, disruption of his ability to litigate against these very
“false” misbehavior reports and the resulting due process violations in the determination
process generally deprived him of many liberties he would have afforded in general
population, housed him in atypical and significant hardship, damaged his property, put
him in situations resulting in his physical harm from inmates and staff, subjected Plaintiff

to the risk of significant sanction, and cause him great resulting emotional distress

COUNT SlX:
FOURTEENTH AMENDMENT DUE PROCESS VlOLATiON

lLLEGAL SHU TlME

68. Plaintiff re-alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

69. Defendants above mentioned in a series of continuing harm predicated
upon Plaintiff’s alleged crime, and anti- authority, and his attempts to litigate those to
trial, and for filing grievances and pursuing lawsuits in retaliation placed Plaintiff in the
SHU, the defendant responsible for his confinement in the SHU violated his due
process rights during the hearing process which if not violated that confinement may not

have occurred Plaintiff in exhausting his remedies reversed said determinations

20

 

Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 21 of 27'

resulting in his continued confinement Plaintiff was therefore injured by his confinement

of 224 days under atypical and significant hardship in the SHU.

COUNT SEVEN: '
FOURTEENTH AMENDMENT DUE PROCESS
V|OLAT|ONS OF D|SCIPL|NARY HEAR|NG PROCESS

70. Plaintiff re alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

71. Defendants above mentioned in a series of continuous wrong predicated
upon Plaintiff’s alleged crime, his anti-authoritative actions his attempts to litigate those
to trial and for filing grievances and pursuing lawsuits in retaliation placed Plaintiff in
confinement in the SHU or keeplock; the defendant responsible for this confinement
violated his due process rights during the hearing determination process which if not
violated that confinement may not have occurred Plaintiff exhausted his administrative
and state remedies with various success in reversal of said determinations although
was still confined Plaintiff was.therefore injured directly and indirectly (effecting his

release) by this confinement under atypical and significant hardship in confinement

COUNT ElGHT:
OBSTRUCT|ON OF GR|EVANCE PROCESS AS

RETAL|AT|ON

72. Plaintiff re alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein,

73. Defendants above mentioned in a series of continuous wrongs predicated
against defendant as retaliation for filing grievances and pursuing lawsuits intentionally

obstructed the inmate Grievance Program or failed to adequately put in place measures w

21

 

Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 22 of 27

and controls to ensure proper management thereof and cause most of Plaintiff’s
grievances from April 2007 until present to go unanswered violating his 1St amendment
right freedom of speech and since exhaustion of the grievance process is essential to
bring Plaintiff’s (first amendment redress of government) constitutional actions to federal
court Defendants actions denied such redress and/or delayed it beyond limitations

including actions presented herein.

COUNT NlNE:
OBSTRUCT|ON OF GR|EVANCE PROCESS

74. Plaintiff re alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

75. Defendants above mentioned in a series of continuous wrongs obstructed
the inmate Grievance Program intentionally and/or failed to adequately put in place
measures and controls to ensure proper management thereof and cause most of
Plaintiff’s grievances from April 2007 until present to go unanswered violating his 1St
amendment right freedom of speech and since exhaustion of the grievance process is
essential to bring constitutional actions to federal court Defendants actions denied
Plaintiff of redress of the government or delayed such redress beyond limitations

including actions presented herein.

COUNT TEN:

OBSTRUCT|ON, DELAY, AND |MPEDlMENT OF
CORRESPONDENCE BOTH ` PRlV|l;§GED ANQ
OTHERW|SE AS RETAL|AT|ON

76. Plaintiff re alleges and incorporates by reference paragraphs 16 through

_ _ 57_as if fully stated herein.

22

 

Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 23 of 271

77. Defendants above mentioned in a series of continuous wrongs predicated
against Plaintiff as retaliation for filing grievances and pursuing lawsuits intentionally
obstructed Plaintiffs legal and other correspondence intentionally to frustrate and
impede, obstruct delay his criminal, civil litigation (criminal appeals Article 785 for
disciplinary hearings and federal actions), or litigation relative to his confinement

violating his 1st amendment right and causing actually damage.

COUNT ELEVEN:
OBSTRUCT|ON, PELAY AND |MPEDlMENT OF

CORRESPONDENCE BOTH PR|V|LEGED AND
OTHERW|SE

78. Plaintiff re alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

79. Defendants above mentioned in a series of continuous wrongs obstructed
Plaintiff’s legal and other correspondence intentionally to frustrate and impede, obstruct
delay his criminal and civil litigation (criminal appeals Article 785 for disciplinary
hearings and federal actions), or litigation relative to his confinement violating his 1st

amendment right and causing actually damage.

COUNT TWELVE:
DELlBERATE iND|FFERENCE TO SAFETY OF lNMATE

80. Plaintiff re alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

81. Defendants above mentioned were deliberately indifferent and/or

recklessly disregarded the safety of Plaintiff by failing to act reasonably in response to

23

 

Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 24 of 27

dangers that were obvious and explicitly warned to Defendants by Plaintiff and his

family, specifically the dangers of assaults and batteries by correction officers at CCF.

COUNT TH|RTEEN: _
DEN|AL OF ACCESS TO THE COURTS

82. Plaintiff re alleges and incorporates by reference paragraphs 16 through

57 as if fully stated herein.

83. Defendants above mentioned in a series of continuous harms predicated
against Plaintiff in retaliation for filing grievances and otherwise,. by the course of
beatings obstructions and other impediments frustrated and impeded the preparation,
authoring, and filing of some causes of actions herein beyond the statue of limitations

thus precluding Plaintiff from damages he would have sought relating to that claim of

action.

RELiEF REQUESTED

WHEREFORE, the Plaintiff requests that the Court grant the following relief:

24

 

 

Case 9:11-cV-0012O-DEP Document 1 Filed 02/03/11 Page 25 of 27l

(A) issue an injunction ordering defendants to release Plaintiff from his SHU
confinement and expunge all references from his record, transfer to another NYSDOCS

correctional facility to prevent further injury to Plaintiff and address his medical issues

(B) Award compensatory damages jointly and severally against defendants in the

amount of Five Million Dollars

(C) Award punitive damages jointly and severally against Defendants in the

amount of Two and One Half Million Dollars.

January 25, 2011

 

Dannemora, New York 12929

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M//l </ *,@/dgl/J?, being duly sworn; deposes and

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says that' he `1s the ‘él-!e!met in the within 'proceeding;
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that he has read the foregoing wl and knows the
contents thereof; that the same is true to his knowledge,

except as to the matters alleged therein on information and

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